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                            12                            UNITED STATES BANKRUPTCY COURT
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                                                          NORTHERN DISTRICT OF CALIFORNIA
                            13                                 SAN FRANCISCO DIVISION
                            14   In re:                                             Bankruptcy Case
                                                                                    No. 19-30088 (DM)
                            15   PG&E CORPORATION
                                                                                    Chapter 11
                            16            -and-                                     (Lead Case)
                                                                                    (Jointly Administered)
                            17   PACIFIC GAS AND ELECTRIC
                                 COMPANY,
                            18                       Debtors.                       NOTICE OF HEARING ON
                                                                                    APPLICATION OF THE OFFICIAL
                            19   □ Affects PG&E Corporation                         COMMITTEE OF TORT CLAIMANTS
                                                                                    FOR ENTRY OF AN ORDER
                            20   □ Affects Pacific Gas and Electric Company         SUPPLEMENTING COMPENSATION
                                                                                    PROCEDURES ORDER FOR
                            21   ■ Affects both Debtors                             RETENTION OF EXPERTS (DOC. NO.
                                                                                    701)
                            22   *All papers shall be filed in the Lead Case,
                                 No. 19-30088 (DM)                                  Date:    July 23, 2019
                            23                                                      Time:    9:30 a.m. (Pacific Time)
                                                                                    Place:   United States Bankruptcy Court
                            24                                                               Courtroom 17, 16th Floor
                                                                                             San Francisco, CA 94102
                            25
                                                                                    Objections Due: July 16, 2019
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                           Case: 19-30088         Doc# 2676   Filed: 06/20/19   Entered: 06/20/19 09:38:04      Page 1 of
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                             1          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
                                 Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession
                             2   (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a
                                 voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                             3   Code”) with the United States Bankruptcy Court for the Northern District of California (San
                                 Francisco Division) (the “Bankruptcy Court”).
                             4
                                        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
                             5   July 23, 2019 at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
                                 Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450
                             6   Golden Gate Avenue, San Francisco, California 94102.
                             7          PLEASE TAKE FURTHER NOTICE that, in addition to any other matters scheduled for
                                 the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Application of the Official
                             8   Committee of Tort Claimants for Entry of an Order Supplementing Compensation Procedures
                                 Order for Retention of Experts (Doc. No. 701) (the “Application”) filed on June 20, 2019.
                             9
                                         PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the
                            10   Application must be in writing, filed with the Bankruptcy Court, and served on the counsel for the
                                 Official Committee of Tort Claimants at the above-referenced addresses so as to be received by no
                            11   later than 4:00 p.m. (Pacific Time) on July 16, 2019. Any oppositions or responses must be filed
                                 and served on all “Standard Parties” as defined in, and in accordance with, the Second Amended
B AKER & H OSTE TLER LLP




                            12   Order Implementing Certain Notice and Case Management Procedures entered on May 14, 2019
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                                 (EFC No. 1996) (“Case Management Order”). Any relief requested in the Application may
                            13   be granted without a hearing if no opposition is timely filed and served in accordance with
                                 the Case Management Order. In deciding the Application, the Court may consider any other
                            14   document filed in these Chapter 11 Cases and related adversary proceedings.
                            15           PLEASE TAKE FURTHER NOTICE that copies of the Application and its supporting
                                 papers can be viewed and/or obtained:              (i) by accessing the Court’s website at
                            16   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
                                 Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
                            17   Clerk LLC, at http://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for
                                 U.S.-based parties; or +1 (929) 333-8977 for international parties or by e-mail at:
                            18   pginfo@primeclerk.com. Note that a PACER password is needed to access documents on the
                                 Bankruptcy Court’s website.
                            19

                            20
                                 Dated: June 20, 2019
                            21                                                        BAKER & HOSTETLER LLP

                            22                                                        By:     /s/ Kimberly Morris
                                                                                              Robert A. Julian
                            23                                                                Kimberly Morris

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